Case 3:08-cr-00267-D   Document 613   Filed 01/22/10   Page 1 of 19   PageID 3040


                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 UNITED STATES OF AMERICA,             §
                                       §
                         Plaintiff,    §
                                       § Criminal No. 3:08-CR-267-D(02)
 VS.                                   §
                                       §
                                       §
 LAZARO FERNANDO RODRIGUEZ,            §
                                       §
                         Defendant.    §

                             MEMORANDUM OPINION
                                  AND ORDER

       Defendant Lazaro Fernando Rodriguez (“Rodriguez”) moves to

 withdraw his guilty plea.       For the reasons that follow, the court

 denies the motion.

                                       I

       On September 3, 2008 Rodriguez was indicted on counts of

 conspiracy to possess with intent to distribute and distribute a

 controlled substance (more than five kilograms of a mixture and

 substance containing a detectable amount of cocaine), in violation

 of 21 U.S.C. § 846, and conspiracy to launder money, in violation

 of 18 U.S.C. § 1956(h).      The indictment also included a forfeiture

 count.    Rodriguez retained Phillip Linder, Esquire (“Linder”) as

 his attorney. Rodriguez pleaded not guilty on October 3, 2008, and

 the court set his trial for March 16, 2009, later continued to June

 22, 2009. On March 3, 2009 Rodriguez signed a plea agreement, plea

 agreement supplement, and factual resume.             The government signed

 the documents on March 16, 2009, and they were filed with the clerk
Case 3:08-cr-00267-D      Document 613    Filed 01/22/10   Page 2 of 19   PageID 3041


 the next day.          In the plea agreement, Rodriguez agreed to plead

 guilty to count one, which charges him with conspiracy to possess

 with intent to distribute and distribute more than five kilograms

 of cocaine.

        The court scheduled a hearing for April 10, 2009 to take his

 plea. During the plea proceeding, Rodriguez advised the court that

 he did not want to plead guilty and that he wanted to replace

 Linder as his attorney.          Later that day, Linder filed a motion to

 withdraw.       The court granted the motion, and the magistrate judge

 appointed the Federal Public Defender.               Rodriguez again retained

 private counsel, and on May 11, 2009 James C. Belt, Jr., Esquire

 (“Belt”) entered his appearance.

            On June 16, 2009, just before the commencement of trial on

 June 22, 2009 (of the several defendants indicted in this case,

 only       Rigoberto   Mata,   Jr.   (“Mata”)    went     to   trial),   Rodriguez

 appeared before the court again to enter a guilty plea, this time

 represented by Belt.            In accordance with his plea agreement,

 Rodriguez pleaded guilty to count one, the cocaine conspiracy

 count.       The court set sentencing for September 25, 2009.

        The probation officer disclosed the presentence report (“PSR”)

 on August 5, 2009.             Rodriguez moved the court three times to

 continue the sentencing,1 and the court granted each motion.                  In a



        1
       His November 11, 2009 motion, styled as his “second,” was
 actually his third.

                                         - 2 -
Case 3:08-cr-00267-D   Document 613    Filed 01/22/10   Page 3 of 19   PageID 3042


 pro se letter dated November 9, 2009 (filed under seal),2 Rodriguez

 advised the court of his “intention to withdraw [his] plea of guilt

 in the above referenced cause, and to obtain a new attorney.” Nov.

 9, 2009 Letter 1.3         On November 12, 2009 the court set the

 sentencing for January 8, 2010.        On January 5, 2010, through Belt,

 Rodriguez filed the instant motion to withdraw his guilty plea

 under Fed. R. Crim. P. 11(d)(2)(B),4 which the government opposes.

 The court has reset the sentencing to January 29, 2010 so that it


       2
       Although the court directed that the motion be filed under
 seal, the court quotes parts of the letter in this memorandum
 opinion and order because doing so is necessary to explain the
 court’s decision rejecting certain grounds on which Rodriguez
 relies.
       3
       Rodriguez is represented in this case by counsel. He does
 not have a right to hybrid representation, in which his counsel
 files some motions and he files others. See, e.g., United States
 v. Hardeman, 48 Fed. Appx. 918, 2002 WL 31115183, at **1 (5th Cir.
 Sept. 19, 2002) (per curiam) (unpublished opinion) (“[Defendant]
 was represented by counsel in the district court, and he had no
 right to hybrid representation.” (citing United States v. Daniels,
 572 F.2d 535, 540 (5th Cir. 1978))). Accordingly, this court is
 not required to accept his pro se motions. See id. (“The district
 court need not have accepted [defendant’s] pro se motions.”).
 Nevertheless, to ensure that this decision addresses not only
 assertions that Rodriguez’s counsel makes but that Rodriguez
 himself advances, the court will address Rodriguez’s letter in
 deciding this motion.    And in assessing the timeliness of his
 motion, the court will give him the benefit of the November 9, 2009
 date, rather than the January 5, 2010 date on which his attorney
 filed the motion, since it is apparent that he desired to withdraw
 his plea as early as November 9, 2009.
       4
       Rodriguez cites Fed. R. Crim. P. 32(d) as the rule on which
 his motion is based. Although Rule 32 formerly addressed motions
 to withdraw pleas, see, e.g., United States v. Carr, 740 F.2d 339,
 343 (5th Cir. 1984) (addressing former Rule 32(d)), this procedure
 has been relocated to Rule 11(d)(2)(B). Accordingly, the court
 treats the motion as made under Rule 11(d)(2)(B).

                                      - 3 -
Case 3:08-cr-00267-D   Document 613    Filed 01/22/10   Page 4 of 19   PageID 3043


 can consider the motion.

                                       II

                                        A

       Rule 11(d)(2)(B) provides that “[a] defendant may withdraw a

 plea of guilty . . . after the court accepts the plea, but before

 it imposes sentence if . . . the defendant can show a fair and just

 reason for requesting the withdrawal.”

             A defendant does not have an absolute right to
             withdraw his guilty plea.     When requesting
             withdrawal before sentencing, the defendant
             must show a fair and just reason for the
             request. When determining whether a fair and
             just reason has been shown, a court considers
             the factors set forth in United States v.
             Carr.   The factors include whether (1) the
             defendant has asserted his innocence, (2) the
             government would be prejudiced, (3) the
             defendant    delayed    in   requesting    the
             withdrawal,    (4)   the   court    would   be
             substantially inconvenienced, (5) the close
             assistance of counsel was available, (6) the
             plea was knowing and voluntary, (7) the
             withdrawal would waste judicial resources, and
             as applicable, the reason why defenses
             advanced later were not proffered at the time
             of the original pleading, or the reasons why a
             defendant delayed in making his withdrawal
             motion.

 United States v. Washington, 480 F.3d 309, 316 (5th Cir. 2007)

 (quoting United States v. Powell, 354 F.3d 362, 370 (5th Cir.

 2003), Rule 11(d)(2)(B), and United States v. Carr, 740 F.2d 339,

 343-44 (5th Cir. 1984) (footnotes, brackets, and internal quotation

 marks omitted)).      “A mere change of mind is insufficient to permit

 the withdrawal of a guilty plea before sentencing.”             Id. at 316-17


                                      - 4 -
Case 3:08-cr-00267-D   Document 613    Filed 01/22/10   Page 5 of 19   PageID 3044


 (brackets, internal quotation marks, and ellipsis omitted) (quoting

 United States v. Glinsey, 209 F.3d 386, 397 (5th Cir. 2000)).

 “Withdrawal is permitted for pleas unknowingly made; the purpose is

 not to allow a defendant to make a tactical decision to enter a

 plea, wait several weeks, and then obtain a withdrawal if he

 believes that he made a bad choice in pleading guilty.”               Id. at 317

 (brackets and internal quotation marks omitted) (quoting Carr, 740

 F.2d at 345).

       “The defendant bears the burden of establishing a fair and

 just reason for withdrawing his plea.”             Powell, 354 F.3d at 370

 (citing United States v. Brewster, 137 F.3d 853, 858 (5th Cir.

 1998)).    “The district court’s decision to permit or deny the

 motion is based on the totality of the circumstances.” Id. (citing

 Brewster, 137 F.3d at 858).      “[T]he district court is not required

 to make findings as to each of the Carr factors.”                 Id. (citing

 Brewster, 137 F.3d at 858).      Rodriguez does not explicitly address

 all the Carr factors in his motion and brief.5               The government,

 however, addresses each factor in its opposition response.

       A defendant is “not entitled to an evidentiary hearing,

 [although] a hearing is required ‘when the defendant alleges

 sufficient facts which, if proven, would justify relief.’”                  Id.

 (quoting United States v. Mergist, 738 F.2d 645, 648 (5th Cir.



       5
       The motion is essentially one page, and the brief is about 1½
 pages.

                                      - 5 -
Case 3:08-cr-00267-D     Document 613    Filed 01/22/10   Page 6 of 19    PageID 3045


 1984)).      “[A] district court’s decision not to hold an evidentiary

 hearing is reviewed for abuse of discretion.”                 Id. (citing United

 States v. Harrelson, 705 F.2d 733, 737 (5th Cir. 1983)). In Powell

 the circuit court found no such abuse of discretion where the

 defendant alleged numerous reasons for allowing her guilty plea to

 be withdrawn but, even if they were all true, under the totality of

 the Carr factors, they clearly did not tip in her favor, and there

 was no indication that the district court made any clear errors in

 assessing the evidence pertaining to the defendant’s plea.                    Id. at

 371.      The   Fifth    Circuit     has    also   upheld   the     denial    of   an

 evidentiary      hearing     where   the    defendant    “did   not     assert     his

 innocence, delayed several weeks before seeking to withdraw his

 plea, and entered his plea with the assistance of counsel.”

 Washington, 480 F.3d at 317.               The court holds that Rodriguez’s

 motion is insufficient to warrant convening an evidentiary hearing,

 particularly considering the substantial evidence developed during

 the plea hearing that defeats his claim that his plea was not

 knowing or voluntary.

                                            B

                                            1

        The   first    Carr   factor    inquires     whether     a   defendant      has

 asserted his innocence.

        In his motion, Rodriguez states “he is innocent of the charge

 of conspiracy to distribute 150 kilograms of cocaine.”                       Mot. 1.


                                        - 6 -
Case 3:08-cr-00267-D   Document 613    Filed 01/22/10   Page 7 of 19    PageID 3046


 But Rodriguez is not charged with conspiracy to distribute 150

 kilograms of cocaine; he is charged with conspiring to possess with

 intent to distribute and distribute more than five kilograms of

 cocaine.    Consequently, Rodriguez appears to be challenging the

 drug quantity attributable to him for purposes of determining his

 sentence, i.e., 150 kilograms, not directly refuting his guilt

 based on his commission of each essential element of count one.

 Once a defendant admits the drug quantity necessary to establish

 his guilt of the offense charged and the statutory maximum penalty

 (here, based on more than five kilograms of cocaine), a challenge

 to the amount of drugs involved in the conspiracy relates to the

 severity of the sentence.      Rodriguez does not assert in his motion

 that he is innocent of conspiring to possess with intent to

 distribute and distribute more than five kilograms of cocaine.                It

 is therefore entirely possible that he is merely challenging the

 accuracy of the facts on which the court may base his sentence.

       Further, Rodriguez offers no basis for his assertion.                  The

 factual resume supports the finding that the defendant is guilty of

 the offense charged in count one, including the drug quantity

 element.   And in the factual resume, Rodriguez admitted that he is

 accountable for at least 150 kilograms of cocaine.                See Factual

 Resume 3 (“Based on his involvement in the conspiracy, Lazaro

 Rodriguez admits to participating in the distribution of at least

 150 kilograms of cocaine during the conspiracy.”).                    During his


                                      - 7 -
Case 3:08-cr-00267-D   Document 613    Filed 01/22/10    Page 8 of 19   PageID 3047


 guilty plea, in response to the court’s question whether he

 “admit[ted] on [his] oath in open court that the facts contained in

 the   factual   resume   are   true    and   correct     in   every    respect,”

 Rodriguez responded, “Yes, Your Honor.”                Tr. 25.     A conclusory

 allegation that is clearly refuted by the record is insufficient.

 United States v. Bounds, 943 F.2d 541, 543 (5th Cir. 1991); see

 also United States v. Bond, 87 F.3d 695, 701 (5th Cir. 1996) (“Bond

 has asserted his actual innocence, but under Carr, this factor is

 insufficient on its own in the total absence of evidence to support

 the assertion, since a contrary rule would grant the defendant an

 unappropriate ability to reverse his decision to plead guilty.”).

 Because the statement in Rodriguez’s motion is ambiguous and

 unsupported, the first factor weighs against granting his motion.

       In his pro se letter to the court, Rodriguez is more specific.

 He suggests that he would be willing to plead guilty to a drug

 offense involving a smaller quantity of cocaine.              See Nov. 9, 2009

 Letter 1 (“I am more than willing to plead guilty to the fact that

 I bought 3 kilos of cocaine from my brother[.]”).                He asserts that

 he was not a part of the conspiracy.                   Id. at 2 (“I did not

 participate in any of this stuff [my brother] was doing except when

 I bought those three kilos of cocaine from him so I could sell them

 and make some money for myself.”) (“I am not a part of this

 conspiracy[.]”).      He complains that he informed his attorneys of

 this fact, “and they refuse[d] to negotiate a proper plea agreement


                                      - 8 -
Case 3:08-cr-00267-D    Document 613       Filed 01/22/10   Page 9 of 19       PageID 3048


 for me.”     Id.      And he avers that he wants to “have new counsel

 assigned in order to continue plea negotiations with the government

 for   the    proper    criminal     activity        that   I    will    accept       full

 responsibility for.”        Id.    Elsewhere in his letter, he states that

 he is “simply trying to plead guilty to the crime I actually

 committed[.]”      Id. at 1.       These assertions do suggest that, while

 Rodriguez admits that he committed some drug crime, he does not

 admit that he committed the crime charged in count one. Therefore,

 the court will assume under                Carr    that Rodriguez asserts his

 innocence of the offense to which he pleaded guilty.

                                            2

       The second Carr factor is whether the government would be

 prejudiced if the motion were granted.                 This factor intertwines

 with the fourth factor——whether the court would be substantially

 inconvenienced——and the seventh Carr factor——whether the withdrawal

 would waste judicial resources.

       Although Rodriguez bears the burden on his motion, he has done

 nothing     but   assert    that    the    government’s        case    would    not    be

 prejudiced and a withdrawal would not waste the court’s time.                         The

 government concedes that it cannot assert “serious prejudice” by

 the withdrawal of the plea if it is afforded sufficient time to

 prepare for trial.         P. Resp. [4].          But it points out that, while

 necessary    trial     witnesses     are    still     available,       many    are    co-

 conspirators who have now been sentenced and are in federal


                                        - 9 -
Case 3:08-cr-00267-D   Document 613    Filed 01/22/10   Page 10 of 19   PageID 3049


 custody.     A trial would require the government to determine the

 witness’ locations, arrange for their transportation to the trial,

 and actually transport them.          These burdens would not have been

 incurred had Rodriguez gone to trial with Mata on June 22, 2009,

 the scheduled trial date.

         But even if the government cannot show prejudice, the court

 finds     that   allowing   Rodriguez      to   withdraw     his    plea   would

 substantially inconvenience the court and waste judicial resources.

 As noted, this case was ready for trial on June 22, 2009, and the

 charges against Mata, including the conspiracy count to which

 Rodriguez has pleaded guilty, were tried to a jury.                Had Rodriguez

 not pleaded guilty, the charges against Rodriguez would have been

 tried to the same jury.      If the court grants Rodriguez’s motion, a

 second jury must be empaneled, and that jury will be required to

 hear evidence that duplicates what was presented at Mata’s trial

 (because, for example, the government must prove the conspiracy

 beyond a reasonable doubt, regardless of the different roles that

 Rodriguez and Mata may have played).            Additionally, the court has

 already conducted two guilty plea hearings regarding Rodriguez.

 Although during the first hearing Rodriguez stated that he did not

 want to plead guilty, he advised the court of this fact only after

 the court had completed substantial questioning. And the court has

 spent additional time addressing Rodriguez’s post-plea continuance

 requests.    Finally, the probation office has prepared the PSR and


                                      - 10 -
Case 3:08-cr-00267-D    Document 613    Filed 01/22/10   Page 11 of 19    PageID 3050


 an addendum.

       The court therefore concludes that the Carr factors that

 consider whether the government would be prejudiced, whether the

 court   would     be   substantially    inconvenienced,      and    whether    the

 withdrawal    would     waste   judicial    resources,     favor    denying     the

 motion.

                                         3

       The third Carr factor——whether Rodriguez has delayed in filing

 his withdrawal motion——also weighs against granting his motion.

 Rodriguez pleaded guilty on June 16, 2009.              The PSR was disclosed

 on August 5, 2009.        Giving Rodriguez the benefit of November 9,

 2009 as the relevant date, see supra note 3, he waited almost five

 months after pleading guilty, and, after the PSR was prepared and

 disclosed, to move to withdraw his plea.

       As   Carr    teaches,     “[w]ithdrawal      is   permitted       for   pleas

 unknowingly made; the purpose is not to allow a defendant to make

 a tactical decision to enter a plea, wait several weeks, and then

 obtain a withdrawal if he believes that he made a bad choice in

 pleading guilty.”         Washington, 480 F.3d at 317 (brackets and

 internal quotation marks omitted) (quoting Carr, 740 F.2d at 345).

 Rodriguez does not explain why he waited as long as he did to move

 to withdraw his plea.       The fact that he waited until after the PSR

 was prepared and disclosed tends to establish that he made a

 tactical choice that he is now seeking to undo in view of the PSR’s


                                       - 11 -
Case 3:08-cr-00267-D   Document 613    Filed 01/22/10   Page 12 of 19    PageID 3051


 calculation of the advisory guideline range and the sentence that

 he faces.    This factor weighs against granting Rodriguez’s motion.

                                        4

       The fifth Carr factor is whether close assistance of counsel

 was available.        Rodriguez does not address this factor in his

 motion, although he does so indirectly in his pro se letter.

       In Rodriguez’s letter, he makes the following complaints about

 Linder and Belt: both attorneys took advantage of his illiteracy,

 and Belt did not tell him what he was signing, Nov. 9, 2009 Letter

 1; he has only seen Belt three times, id.; Belt explained to him

 that he was able to get a good plea agreement from the government,

 but when another inmate read the plea agreement and factual resume

 to Rodriguez, he learned that the plea was exactly the one Linder

 had attempted to have him sign, and even had Linder’s name on it,

 id.; Belt did not file objections to the PSR, id.; Rodriguez

 informed    his   attorneys    about     the   nature    of   his      activities

 (including his limited illegal conduct), and they refused to

 negotiate a proper plea agreement, id. at 2; and his attorneys

 refused to allow him to take the plea agreement to his jail unit so

 that he could have someone else read it and verify that the

 attorney had explained it correctly, id.

       These assertions——insofar as pertinent to the court’s decision

 whether to allow Rodriguez to withdraw his plea——are refuted by

 testimony that Rodriguez gave under oath at his plea hearing on


                                      - 12 -
Case 3:08-cr-00267-D    Document 613    Filed 01/22/10   Page 13 of 19   PageID 3052


 June 16, 2009. “[S]olemn declarations in open court carry a strong

 presumption of verity.”         United States v. Lampazianie, 251 F.3d

 519, 524 (5th Cir. 2001) (quoting Blackledge v. Allison, 431 U.S.

 63, 74 (1977) (addressing motion to withdraw guilty plea)).                    The

 court therefore assigns more weight to what Rodriguez told the

 court under oath in open court than what he has said in his unsworn

 letter.

       The court began the hearing by establishing that Rodriguez

 wanted    to   be     represented     by   Belt,   even     though    Linder   had

 represented him at the prior hearing.              Tr. 3.       Because Rodriguez

 had decided at the prior hearing not to plead guilty, the court

 noted that, if Rodriguez had “some doubts” about pleading guilty,

 the court would “like to get those out in the open now.”                       Id.

 Rodriguez responded that he had no doubts.                Id.

       The court specifically noted that the plea papers were the

 ones filed on March 17, 2009, i.e., before Rodriguez’s first guilty

 plea hearing, and that they “refer to Mr. Linder and have his

 signature[.]”       Id. at 4 (emphasis added).          Despite what Rodriguez

 now says in his pro se letter, he had no complaint at the time he

 pleaded guilty about the use of the same plea papers:




                                       - 13 -
Case 3:08-cr-00267-D   Document 613    Filed 01/22/10   Page 14 of 19    PageID 3053


             The Court: And, Mr. Rodriguez, you understand
             what I just discussed with Mr. Belt, that is,
             the papers that we’re going to use for your
             plea are the ones that you and Mr. Linder
             signed?

             The Defendant: Yes, sir.

             The Court: Okay.           And    do   you   have    any
             objection to that?

             The Defendant: No, sir.

 Id. at 5 (emphasis added).

       The court established that Rodriguez cannot read and write

 English and that someone else read to him in English the plea

 papers he signed and the indictment.           Id. at 7.    Rodriguez said he

 felt he understood the indictment and plea papers.                Id.     And he

 acknowledged that, if the evidence against him was in English and

 he could not read it, someone had explained it to him.                        Id.

 Rodriguez also stated that the indictment had been explained to him

 and that he understood the nature of the charge to which he

 intended to plead guilty.       Id. at 8.       He responded “Yes, sir” to

 the court’s question inquiring whether he was “fully satisfied with

 Mr. Belt’s representation of [him] and with the legal services and

 advi[c]e that he’s provided to [him].”             Id. at 9.

       Rodriguez complains that his attorneys did not explain the

 plea agreement to him.         But this assertion, too, is belied by

 Rodriguez’s sworn answers to the court’s questions.




                                      - 14 -
Case 3:08-cr-00267-D   Document 613    Filed 01/22/10   Page 15 of 19    PageID 3054


             The Court: Mr. Rodriguez, I understand from
             prior answers you’ve given this morning that
             the plea agreement and the plea agreement
             supplement were read to you and explained to
             you even though you couldn’t read them; is
             that correct?

             The Defendant: Yes, sir.

             The Court:     And do you feel that you
             understood the plea agreement and the plea
             agreement supplement before you signed them?

             The Defendant: Yes, sir.

             The Court:     Do you have any changes or
             corrections to make to the plea agreement or
             the plea agreement supplement?

             The Defendant: No, sir.

 Id. at 9-10.

       Rodriguez gave similar answers concerning the factual resume.

             The Court: And, Mr. Rodriguez, I understand it
             from prior answers that you gave this morning,
             before you signed this document[,] this
             document was explained to you; is that
             correct?

             The Defendant:     Yes, Your Honor.

             The Court: And do you feel that you understood
             it before you signed it?

             The Defendant:     Yes, Your Honor.

             The Court:     Do you have any changes or
             corrections to make to the factual resume?

             The Defendant: No, Your Honor.

 Id. at 23-24.

       Additionally,     following     the   court’s    questions       about   the

 factual resume, the following exchange, which Belt initiated,

                                      - 15 -
Case 3:08-cr-00267-D   Document 613    Filed 01/22/10   Page 16 of 19    PageID 3055


 occurred:

              Mr. Belt: Yes, judge, I am satisfied that he
              understood the factual resume,
                   And I’d like to add, too, that I have
              visited him a number of times, at least eight
              times in the last 30 days, and as recent as
              yesterday on two occasions, myself and my
              associate, Mr. Estrada, went over with him the
              documents again, in the morning and in the
              afternoon, to make sure that he understood
              [th]em.
                   The question —— he did understand —— he
              indicated he understood them before he signed
              them, but I’d like the court to know that he
              also understood them subsequent to signing
              them at the latest yesterday.

 Id. at 24.    In other words, Belt was advising the court that he and

 Rodriguez had gone over the plea papers extensively, and that

 Rodriguez not only understood them before he signed them prior to

 the first guilty plea hearing, but he understood them after he

 signed them, and prior to the second guilty plea hearing.                  After

 Belt completed this statement, the court asked Rodriguez directly:

 “Mr. Rodriguez, do you agree with what Mr. Belt just said?               Id.   He

 responded:     “Yes, Your Honor.”      Id.

        Rodriguez’s answers show that he knew what was contained in

 the plea papers and that he agreed with their contents.                 Belt and

 his associate went over the indictment and plea papers extensively

 with    Rodriguez.         Rodriguez       was    satisfied      with     Belt’s

 representation, and he had no complaints about using the same plea

 papers that Linder had signed.                Rodriguez in fact had close

 assistance of counsel.


                                      - 16 -
Case 3:08-cr-00267-D   Document 613    Filed 01/22/10   Page 17 of 19   PageID 3056


         Moreover, Rodriguez showed at his first plea hearing that he

 was not a person who would hesitate to advise the court if he

 disagreed with anything being said in court.                  He had already

 stopped one plea hearing by stating that he did not want to plead

 guilty.     The court had made clear at the second hearing that this

 was “perfectly fine” because his decision “ha[d] to be a voluntary

 one.”     Id. at 3.    If Belt’s representations to the court were not

 accurate, Rodriguez, who was present and heard what was being said,

 knew he could tell the court again that he did not want to enter a

 plea of guilty.       He did not even have to explain why.

         Accordingly, the fifth Carr factor weighs against granting

 Rodriguez’s motion.

                                        5

         The sixth Carr factor is whether the original plea was knowing

 and voluntary. Rodriguez asserts that his plea was not knowing and

 voluntary because “he was unsure regarding the plea based upon the

 varying legal advice he had received from his several attorneys.”

 D. Br. 4.

         The extensive excerpts from the plea hearing quoted above, and

 Rodriguez’s other answers during the plea hearing, refute this

 assertion as well. The court conducted a careful and thorough plea

 hearing during which it asked Rodriguez numerous questions that he

 answered under oath.       In a series of several questions, the court

 specifically asked Rodriguez whether he understood the charge


                                      - 17 -
Case 3:08-cr-00267-D   Document 613     Filed 01/22/10       Page 18 of 19    PageID 3057


 against    him,   the   consequences      of    pleading       guilty   (i.e.,     the

 punishment     provided   by    law    and     how    the    advisory       sentencing

 guidelines might affect his sentence), the specific rights he was

 relinquishing by pleading guilty, and the plea documents he had

 signed.      The answers carry “a strong presumption of verity.”

 Lampazianie, 251 F.3d at 524.            In the end, the court expressly

 found, based on its observation of Rodriguez, his responses under

 oath, and the responses of his counsel, that Rodriguez’s plea of

 guilty was a knowing and voluntary plea.

       The court adheres to the finding that Rodriguez’s guilty plea

 was knowing and voluntary.             This factor supports denying his

 motion.

                                          6

       Having considered the Carr factors under the totality of the

 circumstances, the court concludes that Rodriguez’s motion should

 be denied.        Essentially, what happened in this case is this:

 Rodriguez decided to plead guilty, and the court scheduled a

 hearing to take his plea.        Rodriguez lost confidence in his first

 lawyer, Linder, and wanted the assistance of a second retained

 lawyer, Belt. After having the close assistance of Belt, Rodriguez

 pleaded    guilty     under    the    same     plea   terms      that   Linder     had

 recommended. Rodriguez was satisfied with this advice and with his

 plea until the PSR was issued and he saw the full force of what he

 faces as a possible sentence.            He now wants to renegotiate his


                                       - 18 -
Case 3:08-cr-00267-D   Document 613    Filed 01/22/10   Page 19 of 19   PageID 3058


 plea, not because he does not want to plead guilty, but because he

 wants a more favorable plea bargain, i.e., to plead to an offense

 and a drug quantity that will reduce his sentence exposure.

 Considering the totality of the circumstances, it would not be fair

 and just to permit Rodriguez to withdraw his plea.

                                       III

       Rodriguez has not shown a fair and just reason for requesting

 that his guilty plea be withdrawn.             Rodriguez’s January 5, 2010

 motion to withdraw his plea of guilty is therefore denied.                   The

 court will sentence Rodriguez, as scheduled, on January 29, 2010 at

 9:00 a.m.

       SO ORDERED.

       January 22, 2010.



                                      _________________________________
                                      SIDNEY A. FITZWATER
                                      CHIEF JUDGE




                                      - 19 -
